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UNITED STATES I}ISTRIC'I` CUURT
FDR THE MIDDLE DISTRICT DF FLURII}A
TAMPA D]VISI'DN

L[SA GALARZA, lndividually,
and her spouset FARAEL GALARZA

Flaintit't`s, Case No.:
vs.

VERN{JN GAMH[}E ENTERPRISES. INC.
land .IUHN W. HUGHES

l]et`endants.

.'
n'

IN`UTIEE {]F REMUVAL

Fl_F..aSE TF‘LKE NOT]CE that the [}et`cndants. VERNDN GAMBOE EN`|`ERPRISES,
INC. and JUHN W. HUGHES, hv their undersigned attornevs. Natalie 'Stroud Fenner and
Franlclin & Frakopiic. i-‘.C.. pursuant to 23 U.S.[`. § 144| e.t. s'eq.. file this Notice of Rt-.‘n'toval ol`
this action t`rom the Circuit Court for the Tenth .ludicia| Cimuit in and for F'olk I:`ount_v. Florida,
in which it is now pending. to thc ilnited States District C' ourt l`or the lvtidd|e District ot` l-`lorida,
and in support thereof respecttul|v avers as follotvs.'

Hasis for Removai

l. Del`endants ‘v'ERNUN GAMBOE ENTERPRJSES. [NC. [licreinafter "'le"t and
.i{Ji-I'N W. Hll{ii-IES tltereinafter “l-Iughes"’} have been named as Det`endants in a lawsuit filed in
the Circuit Court t`or Polk Countv. l"|orida` Case No.; l l-Cl-‘L-titjtnl I?. `l'l“n.=,l lawsuit was originallyJ
li|ed on Decemher 12. E{il l_

2. m the time ot` service of the complaint on these Det`endants. the complaint

minimallyl alleged that the arnolmt in controversy exceeded the state jurisdictional amount ot`

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iii§.titi[i and there was no other information available to the []et`endants to ascertain whether the
controversy met thejurisdictionai amount of $TE,UUEJ to remove the ease to t`ederal court.

3. Defendants now seek to remove this action to this [`ourt under Titie 23 U.S.C.
§]441 et. seq..

4. Pursuant to 23 U.S.C. § i446{ai. copies of ali process. pleadings and orders
served upon the liet`endants in state court are attached hereto as Composite Eirhibit l.

;i. i`his matter is within the original jurisdiction ot` Linited States Dlstrict C.`ourt based
on [}iversity of Citizenship under 23 ii.S.C. § ililiEtai as more particularly described below.

ti. `i`hisl Notice ot` Rentoval is timely pursuant to 23 U.S.C. § ld¢td{bi{[ii and tci in
that is being filed by [}et`endant VGI and by Det`endant i-iughes within thirty days alter receipt ot`
an other paper i`rom which it may lirst be ascertained that the case is one which is or had become
removable; and. it is filed less than 1 year after the commencement ol` the action.

ma

i'. The Linited SIates District t'.`ourt t`or the Middie District of Floridai Tarnpa
Division. is a proper venue t`or this matter because the original action was filed in the {Iircuit
L"ourt i`or the `[`cnth iudicial Circuit, in and ibt Poik County. Florida. 23 i_i.S.C. § id¢l{a]l. and
Po|k County. F|orida is within the Tarnpa Division of this Court. Loca| Rule i.tiEtbit4}.

Basis for I}iversi ' of Citizenshi

 

.lu risdiction

     

S. Dei`endants are entitled to removal because there is complete diversity ot`
citizenship between Piaintit`t`s and [`,'-'et`endants and the amount in controversy exceeds $?E.t`ii]{i.
as tt.s_c. § tsszrai.

9. Plaintit`t`s. I_isa Galar:>a and Farae| Cialarza, are citizens and residents oi`

|_,altciandT Poll-t County. l~'lorida. t§e_e Composite Exhibit 1_. Complaint ‘|i 2}.

l-._l»

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lti. i}et`endant Hughes is a resident and citizen of Nicbolas` iessamine County.
Kentucicy. {B Composite Exhihit 1. C`omplaint '|| iii

]l. Defendant "v"{ii is a foreign corporation organized under the laws ol` Kentuclcy
with its principal place of business in 1v'ersailles. Kentuclcy. {§_trg Composite Exhihit l.
l.l`cttt'lplaintii 3].

ll 1'l-"v'hi]e pursuant to State law practice. the complaint minimally alleges damages in
excess of 515.[|'|]{}. the amount in controversy in this matter exceeds the $?5.tiliti jurisdictional
threshoid. This is based on discovery materials served on August li'. 2012 as delined in fill
ii.S.C. § ]Md{cit}) and Piaintil`t`s pre»suit demand ietter. the combination of which establishes
that the amount of past and future economic and non-economic damages is in excess of this
court*s jurisdictional amount {B Composite Exhibit 2, Summary of Discovery and
Settlement Demand [}amages. Fiaintiffs Answers to interrogatories F]aintiff` s Responses to
Document Recjuests and ]:'laintiffs1 Fre-Suit Settlement [}ema_nd I-etter}. l§pecifically1 the
summary oi` damages calculated upon review of Plaintiffs` 1august l i'. ZtilZ discovery responses.
along with Plaintiff` s pre-suit demand ietter. shows that the amount in controversy is at least
5|[]'4.?33.52.

13. ivloreoven Plaintit`t"s Answers to interrogatories strongly suggest that she is
purposefully refusing to definitively disclose the amount in controversy to avoid the jurisdiction
oi`this court. Fiaintiff was specifically asked the foilowing:

INTERRUGATURY NU. 26: 1will you contend at the trial ot' this case that the
damages you have incurred as a result of the incident complained of in the
complaint. including both economic and non-economic tpain and suffering]
damages exceed the monetary amount of $'i'i{iliti.ti[l tSeventy-Five Thousand

l'i'oliarsi?

ANSWER: ijection. calls for speculation. lt is undetermined at this time what
evidence P|aintiff intends to present to establish the damages incurred to Plaintiffs

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in the past or to establish damages to be incurred in the future as the result of the
incident in the Complaint. Without waiving this objection. based upon the
evidence obtained by Plaintiff's counsei_. Plaintiff’s damages exceed 515,000.
however, the total amount ol` damages have not yet been calculated. Discc-very is
on-going. lintii discovery is concluded. Plaintit`f cannot truthfully admit or deny
the total amount oi`damages she intends to seek.
{See C.omposite Exhihit 2. Piaintiil`s Answer to interrogatory No. 261 This appears to be
Plaintiff`s willful attempt to conceal the total amount of damages she will seek until after the l
year deadline for removai. This lnterrogatory ernswer. however. contradicts the information
contained in f'|aintiffs1 pre-suit settlement demand letterl. in which Plaintil`f claims that a
medical doctor will opine that future medical expenses will be at least $til ,535.92.

14. "Defendants may submit a wide range of evidence in order to satisfy the
jurisdictional requirements of removai."" Pretl<a v. Koitcr Citv Plg_za. ll. lnc.. 608 F.Ed ?44. i'iiii
ll ill1 l.`.`ir. 2010}. lndeedi a “[p]re-suit demand letter may be used to 'supplementi other evidence
of the amount in controversy.“ Diaz v. Big Lot Stores. ine., 2010 WL 15?93350 [ivl.[l. Fia.}{citing
Golden v. liodge-lvlarltam Co.. l F.Supp.Ed 1350 tlvl.[}. Fla lil§l$}. ln assessing the amount in
controversy. it is appropriate for this court to consider. as is present here. the PiaintiiT’s refusal to
stipulate or admit that she is not seeking damages in excess of the requisite jurisdictional
amount. l_d_. at 3. citing D~evore v. Howmedica Usteonics Cor_p., 553 F.Supp.ld 1360. 1330
(flvt.l]. Fla. 2009]. ln consideration ot` the analysis of the recently served discovery responses
and Plaintist pre-suit settlement demand iette.r_. coupled with the Flaintiff’s reliusal to respond to
a properly framed interrogatory directed to the issue of jurisdiction. it is evident that this matter

is one in which this Honorable Court has original jurisdiction as provided for by 28 U.S.[`.

§144| tai because the amount in controversy exceeds the jurisdictional amount ol' the court1

 

' Det`cndants reasonably concluded that this matter was not immediately removable when the case was initially filed
and that the Pre-Suit Eenlement Demand Letter alone would not constitute an “other paper"’ in this circuit.
According|y. discovery was commenced to explore Ihejurisdictional issues S_e_e nnnstrongv. SeLRoebuch and
§_o_._. 2009 WL 40 l 5563 thill F|a.i and the cases cited t|terein.

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l:i. flased on the foregoing. and because this Court has original jurisdiction as to
Plaintiffs’ claims this matter may properly be removed to this {Iourt.

16. A true and accurate copy of the Noticc of Removal is being concurrently filed
with the Clerlt of the Circuit Court of the Tenth .l udicial {.`ircuit in and for Foll<. County. Florida,
as is required by 20 i_i.S.C. § lddo[d]. 1'r'v'ritten notice of the filing of this Noticc of Remova| is
also being concurrently served on Plaintiti`s* counsel.

w'HEREFGRE. [lefendants, v’ERNUN GAlleUE Ei\lTERf‘*RlSES1 li*~lC-. and illith W.
HUGHES respectfully request that the above~entitled action be removed from the Circuit Court

for Poll-: County. Florida to the linited States Eiistrict Court for the ivliddle [Jistrict ot`Florida.

   
   

Natalie Stroud Fen v
Trial Counsel
Florida Bar l*~lo.: 16460?

Franiciin dc Preltopik. P.C_

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Tarnpa. FL 33010

Phone: tEiEiiirl~Il?Ei'
Em ail: nfenner@iandpnet.com

.irtorney'for Defenn'onrs

CERTIFICATE 'DF SER"+"ICE

l l'lERliB't’ CERTIFY that on this 12th day of September. 20]2, a copy of the foregoing
was furnished via U.S. lvlaii and by e-mai] [primary: rnail“ri=rnilesandparrish.com; and secondary:
tparrish=iiimilesaitdparrish.eom) to Todd N. Panish_. Esquire, lyliies dr Parrish. P.A.. 4305
High|and Park Blvd. Lakeland. l`-`L 33513»16?1.

 

Florida Bar i*~lo.: 6460?
Franitlin dc Prolcopiic P.C.

